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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                             CRIMINAL ACTION

         v.                                           NO. 94-20-01

 TROY GILES


        MEMORANDUM RE: PETITIONER’S MOTION UNDER 28 U.S.C. § 2255

Baylson, J.                                                                     November 19, 2021

       Before the Court is a motion filed by Petitioner Troy Giles pursuant to 28 U.S.C. § 2255

(ECF 249). Giles is an incarcerated man seeking to have his sentence reduced on the grounds that,

in light of the Supreme Court’s recent decision in Borden v. United States, 141 S. Ct. 1817 (2021),

his prior second-degree felony robbery convictions are no longer Armed Career Criminal Act

(ACCA) predicates justifying his sentence. There are three questions at issue: whether the robbery

statue under which Giles was convicted is divisible, what mens rea requirement applies to the

second portion of the statute if it is divisible, and what burden Giles must meet to establish that he

is entitled to a resentencing. Giles need only prevail on one of these three questions to establish

that he is entitled to a resentencing. The Court finds that Giles prevails on all three.

I.     Background

       a. Factual and Procedural History

       On March 18, 1994, Petitioner Troy Giles was convicted of several federal offenses. The

Probation Department concluded that Giles was subject to sentencing under the ACCA because of

his two previous convictions for “serious drug offenses” and two previous robbery convictions

which qualified as “violent felonies” under the ACCA. Once in 1983 and once in 1988, Giles had

been convicted of second-degree felony robbery, a violation of 18 Pa. C.S. § 3701(a)(1)(iv).

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       Giles’s sentence was enhanced according to the ACCA, and he was sentenced to 408

months of imprisonment. After the Supreme Court invalidated the ACCA’s residual clause in

Johnson v. United States, 576 U.S. 591 (2015), the Third Circuit authorized Giles to file a new 28

U.S.C. § 2255 motion (ECF 224). Giles filed the present motion on August 5, 2021 (ECF 249).

He has been in custody since December 17, 1993. Giles is currently scheduled to be released on

April 19, 2023.

       b. Legal Background

       A defendant is subject to the ACCA’s sentencing enhancements if he has three or more

prior convictions for a “serious drug offense” or a “violent felony.” 18 U.S.C. § 924(e)(1). Giles

does not dispute that he has two prior convictions for “serious drug offenses.” The issue is only

whether his prior robbery convictions can serve as the required third predicate.

       The ACCA defines a “violent felony” as:

               any crime punishable by imprisonment for a term exceeding one
               year . . . that—

               (i) has as an element the use, attempted use, or threatened use of
               physical force against the person of another; or

               (ii) is burglary, arson, or extortion, involves use of explosives, or
               otherwise involves conduct that presents a serious potential risk of
               physical injury to another.

18 U.S.C. § 924(e)(2)(B). In Johnson, the Supreme Court struck the portion stating “otherwise

involves conduct that presents a serious potential risk of physical injury to another,” also known

as the residual clause, as unconstitutionally vague. After this decision, convictions must satisfy

one of § 924(e)(2)(B)’s remaining provisions in order to qualify as a “violent felony.” Because

robbery is not one of the offenses listed in § 924(e)(2)(B)(ii), it must satisfy § 924(e)(2)(B)(i),

which is an offense which “has as an element the use, attempted use, or threatened use of physical



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force against the person of another.” More recently, in Borden v. United States, 141 U.S. 1817

(2021), the Supreme Court held that crimes that can be committed with a mens rea of recklessness

do not qualify as “violent felonies” under § 924(e)(2)(B)(i).

        To determine whether a past conviction for a state offense qualifies as a conviction for a

“violent felony” as listed by the ACCA, courts use a “categorical approach” that entails comparing

the elements of the crime of conviction with the elements of a generic version of the offense. “The

prior crime qualifies as an ACCA predicate if, but only if, its elements are the same as, or narrower

than, those of the generic offense.” Mathis v. United States, 136 S. Ct. 2243, 2247 (2016). The

categorical approach “focus[es] solely on whether the elements of the crime of conviction

sufficiently match the elements of generic burglary, while ignoring the particular facts of the case.”

Id. at 2248.

        The Pennsylvania second-degree felony robbery statute under which Giles was convicted

stated at the time, “A person is guilty of robbery if, in the course of committing a theft, he: . . . (iv)

inflicts bodily injury upon another or threatens another with or intentionally puts him in fear of

immediate bodily injury.” 18 Pa. C.S. § 3701(a)(1)(iv). Pennsylvania law provides that “[w]hen

the culpability sufficient to establish a material element of an offense is not prescribed by law,

such element is established if a person acts intentionally, knowingly or recklessly with respect

thereto.” 18 Pa. C.S. § 302(c).

        Because of the Borden Court’s holding that “[o]ffenses with a mens rea of recklessness do

not qualify as violent felonies under ACCA,” 141 S. Ct. at 1834, the central question in this case

is whether Giles, in either of his robbery convictions, was convicted of an offense that can be

committed with a mens rea of recklessness. If the robbery offenses of which Giles was convicted




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of can be committed with a mens rea of recklessness, those offenses do not count as violent felonies

under the ACCA and Giles is entitled to a resentencing.

II.     Parties’ Contentions

        Giles argues that following the Supreme Court’s decisions in Johnson and Borden, his prior

robbery convictions do not qualify as “violent felonies,” and that he therefore does not have the

requisite predicates to support his ACCA sentence. (Pet’r’s Br. 1–4.) In its Response (ECF 251),

the Government argues that the Pennsylvania statute of which Giles was convicted is divisible in

two separate offenses, and that one of those offenses is not an ACCA predicate but the other

offense is. (Gov’t’s Resp. Br. 6–15.) The Government also argues that Giles bears the burden of

proving that his convictions rest on the portion of the statute that does not qualify as a predicate

and that he has not met that burden. (Id. at 15–22.)

        In his Reply (ECF 252), Giles argues that the Government’s argument that the second-

degree felony robbery statute is divisible is foreclosed by the Supreme Court’s decision in Mathis

v. United States, 136 S. Ct. 2243 (2016). (Pet’r’s Reply Br. 4–8.) He also argues that even if the

statute is divisible, both portions of it proscribe reckless conduct. (Id. at 8–11.) Lastly, he contends

that even if a portion of the statute can be an ACCA predicate, the Third Circuit has held that he

only must demonstrate that his prior convictions do not categorically qualify as ACCA predicates

under current law. (Id. at 11–15.)

III.    Discussion

        a. Divisibility of the Robbery Statute

        In applying the categorial approach, statutory divisibility comes into play when a single

statute “list[s] elements in the alternative, and thereby define[s] multiple crimes.” Mathis, 136 S.

Ct. at 2249. In this situation, a court uses the “modified categorical approach” in which it “looks



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to a limited class of documents . . . to determine what crime, with what elements, a defendant was

convicted. The court can then compare that crime, as the categorical approach commands, with the

relevant generic offense.” Id. However, a statute should not be treated as divisible when, rather

than listing alternative elements of an offense, it “merely specifies diverse means of a satisfying a

single element of a single crime—or otherwise said, spells out various factual ways of committing

some component of the offense.” Id.

       The Government concedes that at least one portion of subsection (iv) of the robbery statute

can be committed with a mens rea of recklessness: the portion addressing bodily injury. (Gov’t’s

Resp. Br. 7.) The Government takes the position, however, that subsection (iv) is divisible and

encompasses two distinct offenses, the first of which entails inflicting bodily injury and the second

of which entails threatening another with or intentionally putting them in fear of immediate bodily

injury. In the Government’s view, this second offense can only be committed with a mens rea of

intent. (Id. at 6–7.) Giles, by contrast, argues that subsection (iv) only encompasses a single

offense, which can be committed by several different means. (Pet’r’s Reply Br. 5.) Because the

Government concedes that the first portion of subsection (iv) can be committed with a mens rea of

recklessness, a conviction under subsection (iv) would not qualify as a violent felony if the

subsection is indivisible.

       The Court concludes that Giles’s position is the more persuasive one. Subsection (iv) is

best read as describing multiple means by which to commit a single offense. This is supported by

the plain text of the statute. See Mathis, 136 S. Ct. at 2256 (noting that “the statute on its face may

resolve the issue” of divisibility). If subsection (iv) was meant to be read as encompassing multiple

robbery offenses rather than describing multiple means of committing the single offense of second-

degree robbery, this would raise the question of why these multiple offenses were compressed into



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the same single subsection of the statute in the first place. Nor are the different portions of

subsection (iv) treated as different offenses by the statute’s grading provision, which simply states

that any conviction under subsection (iv) constitutes a second-degree felony. 18 Pa. C.S. §

3701(b)(1); see Mathis, 136 S. Ct. at 2256 (“If statutory alternatives carry different punishments,

then . . . they must be elements.”).

       Interpreting subsection (iv) as indivisible is also consistent with Pennsylvania’s model

criminal jury instructions. See United States v. Steiner, 847 F.3d 103, 119 (3d Cir. 2017) (citing

Pennsylvania’s model criminal jury instructions to help determine a statute’s divisibility).

Pennsylvania’s model criminal injury instructions characterize subsection (iv) as constituting a

single element that can be established through several different means.           See Pennsylvania

Suggested Standard Criminal Jury Instructions, § 15.3701B (Pa. Bar. Inst., 3d ed. 2016).

       In support of its divisibility argument, the Government places substantial weight on the

fact that subsection (iv) contains alternative mens rea requirements, with an intent requirement

expressly applying to at least the act of putting the victim in fear of immediate bodily injury and a

recklessness requirement applying to at least the act of inflicting bodily injury on the victim.

(Gov’t’s Resp. Br. 14.) But the Government overstates the significance of this; just as statutes can

provide interchangeable means of satisfying a single actus reus element, statutes can also provide

“interchangeable means of satisfying a single mens rea element.” Mathis, 136 S. Ct. at 2253 n.3.

       b. Mens Rea Requirements in the Robbery Statute

       Even if the Court were to accept the Government’s position on divisibility, this would not

require that the Court accept the Government’s position on the mens rea requirement that applies

to the second portion of subsection (iv). The second portion of subsection (iv) expressly attaches

a mens rea requirement of intent to the act of putting another in fear of immediate bodily injury.



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But what mens rea requirement applies to the alternative act of threatening another with immediate

bodily injury?

        The simplest, plainest reading of the second portion of subsection (iv) is that, because no

mens rea requirement is expressly attached to the act of threatening another with immediate bodily

injury, a mens rea requirement of recklessness applies. The Government, however, argues that a

mens rea of intent applies to threatening another with immediate bodily injury.

          i.     Statutory Interpretation

        The Court rejects the Government’s contention that “issuance of a ‘threat’ to inflict

‘immediate bodily injury’ plainly suggests volitional, intentional conduct.” (Gov’t’s Resp. Br. 8.)

Addressing this issue in Larios v. Att'y Gen. United States, the Third Circuit rejected the

Government’s attempt to “read[] into the lone word ‘threat’ an ‘additional, intentional ‘layer’ to

the mens rea requirement’ because it ‘suggests that the perpetrator must initially commit a

purposeful act.’” 978 F.3d 62, 71 (3d Cir. 2020). Rather, a “threat” to commit a particular act is

simply an actus reus with no implicit mens rea of its own. Id. (citing Bovkun v. Ashcroft, 283

F.3d 166, 170 (3d Cir. 2002)).

        The Government further argues that because a mens rea requirement of intent applies to

putting another in fear of immediate bodily injury, that mens rea requirement of intent also applies

to threatening another with immediate bodily injury. The Government cites the Third Circuit’s

decision in Larios in support of this argument. (Gov’t’s Resp. Br. 8.) The Larios court did indeed

state that “[w]here a statute specifies the mens rea, courts ordinarily interpret it as applying through

the statute.” 978 F.3d at 71. But the court also found that “nothing in the text, New Jersey law,

or our precedent suggest we should stray from that ordinary construction.” Id. Pennsylvania law,

however, expressly provides for a mens rea requirement of recklessness when no mens rea



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requirement is otherwise prescribed in a criminal statute. This Court does not need to guess or

speculate about what mens rea requirement attaches to threatening conduct in the Pennsylvania

robbery statute. The Pennsylvania Supreme Court “has repeatedly held § 302 provides the default

level of culpability where a criminal statute does not include an express mens rea.” Com. v. Moran,

104 A.3d 1136, 1149 (Pa. 2014).

        Other common principles of statutory interpretation also require this Court to reject the

Government’s position. It is a “familiar principle of statutory construction . . . that a negative

inference may be drawn from the exclusion of language from one statutory provision that is

included in other provisions of the same statute.” Hamdan v. Rumsfeld, 548 U.S. 557, 578 (2006);

see also United States v. Nasir, No. 18-2888, 2021 WL 5173485, at *9 (3d Cir. Nov. 8, 2021) (en

banc) (“As a familiar canon of construction states, expressio unius est exclusio alterius: the

expression of one thing is the exclusion of the other.”). In this case, the drafters of the robbery

statute chose to only mention a mens rea requirement of intent when listing the third and final of

the three distinct acts described in subsection (iv). This would be a puzzling way to write the

subsection if the drafters had intended a mens rea requirement of intent to apply to the preceding

acts listed in the subsection as well. This Court’s interpretation is also guided by the rule of lenity,

under which “courts must construe penal laws strictly and resolve ambiguities in favor of the

defendant.” See Nasir, No. 18-2888, at *9–11 (Bibas J., concurring).

         ii.    Realistic Probability Standard

        The Government alternatively argues that in order to establish that a person can be

convicted for recklessly threatening immediate bodily injury under subsection (iv), Giles must

meet the “realistic probability” standard—in other words, he must provide examples of people

being convicted under subsection (iv) explicitly for recklessly threatening immediate bodily injury.



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(Gov’t’s Resp. Br. 11.) See Salmoran v. Att'y Gen. United States, 909 F.3d 73, 80–81 (3d Cir.

2018) (discussing the realistic probability standard).

       In the Third Circuit, however, “where ‘the elements of the crime of conviction are not the

same as the elements of the generic general offense,’” the reasonable probability standard “is

simply not meant to apply.” Salmoran, 909 F.3d at 81 (quoting Singh v. Att'y Gen., 839 F.3d 273,

286 n.10 (3d Cir. 2016)). Moreover, even when “as a matter of common sense, it is scarcely

conceivable that one could, as a factual matter, recklessly commit” a particular offense, “once we

conclude that the textual breadth of a statute is more expansive than the federal generic crime

because the mens rea elements are different, a petitioner need not show that there is a realistic

chance that the statute will actually be applied in an overly broad manner.” Cabeda v. Att'y Gen.

of the United States, 971 F.3d 165, 175–76 (3d Cir. 2020).

       The fact that Pennsylvania law expressly provides a recklessness mens rea requirement for

elements of criminal offenses that otherwise lack a mens rea requirement brings the second portion

of subsection (iv) out of alignment with the generic offense, eliminating any need to apply the

realistic probability standard.

       c. Issue of Burden and Shepard Documents

       Even if the Court were to accept the Government’s positions on both divisibility and the

mens rea requirement for the second portion of subsection (iv), this would not be the end of the

analysis. Assuming, for the sake of argument, that subsection (iv) encompasses two separate

offenses, the next step would be to determine under which of those two offenses Giles was

convicted. To make this determination, courts look at a limited set of “Shepard documents” from

the record of a prior conviction. These documents include the charging document, any written

plea agreement, any transcript of a plea colloquy, and any explicit factual finding by the trial judge



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to which the defendant assented. See Shepard v. United States, 544 U.S. 13, 26 (2005). If the

Shepard documents fail to illuminate the court on this question, the court must treat the multiple

offenses contained within the divisible statute as a single offense and apply the categorical

approach as if the issue of divisibility had never arisen. United States v. Peppers, 899 F.3d 211,

232 (3d Cir. 2018) (“Without Shepard documents, the categorical and modified categorical

approaches are the same, and the sentencing court is forced to proceed under the categorical

approach.”).

       The Government concedes that neither the Shepard documents for Giles’s 1983 robbery

conviction nor the Shepard documents for Giles’s 1988 robbery conviction clearly establish which

portion of subsection (iv) Giles was convicted under. The Government further concedes that the

Shepard documents for Giles’s 1988 conviction provide some reason to believe that Giles was

convicted for inflicting bodily injury rather than for threatening another with or intentionally

putting another in fear of immediate bodily injury. (Gov’t’s Resp. Br. 22.) The Government

contends, however, that the burden is on Giles to prove that he was not convicted under the portion

of subsection (iv) that, in the Government’s view, is both divisible from the first portion of the

subsection and does not allow for conviction with a mens rea of recklessness.

       In support of this argument, the Government cites the Supreme Court’s decision in Pereida

v. Wilkinson, 141 S. Ct. 754 (2021), in which the Court considered the categorical approach as

applied in the immigration context. (Gov’t’s Resp. Br. 18–20.) In Pereida, the Court held that an

immigrant seeking discretionary cancellation of an order of removal must prove all aspects of their

eligibility, including that they have not been convicted of a disqualifying criminal offense. Id. at

768. But the Pereida Court repeatedly emphasized that its decision was grounded in what “[t]he

INA expressly requires,” and limited its holding to cases concerning the INA. Id. at 758, 767. In



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the present case, which does not involve the INA whatsoever, Pereida does not displace the Third

Circuit’s decision in Peppers, which speaks specifically to the categorical approach as applied

under the ACCA.

          The Shepard documents for Giles’s 1988 robbery conviction, to the extent that they show

anything, suggest that Giles was convicted under the portion of subsection (iv) that the

Government concedes has a mens rea requirement of recklessness. The Shepard documents for

Giles’s 1983 robbery conviction provide no indication of what portion of subsection (iv) Giles was

convicted under. Therefore, even if the Government were to be correct both that subsection (iv)

is divisible and that the second offense contained in the statute requires a mens rea of intent, the

Court must treat subsection (iv) as indivisible in applying the categorical approach and conclude

that a person can be convicted under subsection (iv) with a mens rea of recklessness.

IV.       Conclusion

          The Court finds as follows:

          1. Subsection (iv) of the robbery statute is indivisible;

          2. Even if the subsection were to be divisible into two separate offenses, both offenses

               can be committed with a mens rea of recklessness; and

          3. Even if the subsection were to be divisible into two separate offenses and only one of

               those offenses can be committed with a mens rea of recklessness, Giles has met his

               burden to show that his robbery convictions do not qualify as ACCA predicates under

               current law.

The Court will therefore grant Giles’s motion. An appropriate Order follows.



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